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   Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
   WEISSLAW LLP
 2 611 Wilshire Blvd., Suite 808
   Los Angeles, CA 90017
 3 Telephone: 310/208-2800
   Facsimile: 310/209-2348
 4
   Attorneys for Plaintiff
 5

 6

 7

 8                                       UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11    STEPHEN BUSHANSKY,                                )   Case No.
                                                        )
12                          Plaintiff,                  )
                                                        )
13                                                      )   COMPLAINT FOR
                      vs.                               )   VIOLATIONS OF THE
14                                                      )   FEDERAL SECURITIES LAWS
      MOMENTIVE GLOBAL, INC., SUSAN L.                  )
15    DECKER, DAVID A. EBERSMAN, ERIKA                  )   JURY TRIAL DEMANDED
      H. JAMES, SHERYL K. SANDBERG,                     )
16    ALEXANDER J. LURIE, DANA L. EVAN,                 )
                                                        )
      BRAD D. SMITH, RYAN FINLEY,                       )
17
      BENJAMIN C. SPERO, and SERENA J.                  )
18    WILLIAMS,                                         )
                                                        )
19                          Defendants.                 )
                                                        )
20

21

22          Plaintiff Stephen Bushansky (“Plaintiff”), on behalf of himself and all others similarly
23 situated, upon information and belief, including an examination and inquiry conducted by and through

24
     his counsel, except as to those allegations pertaining to Plaintiff, which are alleged upon personal
25
     belief, alleges the following for his Complaint:
26

27

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                                      NATURE OF THE ACTION
 1

 2          1.      This is an action brought by Plaintiff against Momentive Healthcare, Inc.

 3 (“Momentive” or the “Company”) and the members of Momentive’s Board of Directors (the “Board”

 4 or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

 5
     Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and
 6
     Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a
 7
     proposed transaction, pursuant to which Momentive will be acquired by Zendesk, Inc. (“Zendesk”)
 8
     through Zendesk’s subsidiary Milky Way Acquisition Corp. (“Merger Sub”) (the “Proposed
 9

10 Transaction”).

11          2.      On October 28, 2021, Momentive and Zendesk issued a joint press release announcing
12   that they had entered into an Agreement and Plan of Merger dated October 28, 2021 (the “Merger
13
     Agreement”) to sell Momentive to Zendesk. Under the terms of the Merger Agreement, each
14
     Momentive stockholder will receive 0.225 shares of Zendesk common stock for each share of
15
     Momentive common stock they own (the “Merger Consideration”). Upon completion of the merger,
16

17   it is estimated that current Momentive stockholders will own approximately 22% of the combined

18   company and former Zendesk stockholders will own approximately 78% of the combined company.

19   The Proposed Transaction is valued at approximately $4.13 billion.
20          3.      On December 6, 2021, Zendesk filed a Form S-4 Registration Statement (the
21
     “Registration Statement”) with the SEC. The Registration Statement, which recommends that
22
     Momentive stockholders vote in favor of the Proposed Transaction, omits or misrepresents material
23
     information concerning, among other things: (i) the Company’s and Zendesk’s financial projections;
24

25 and (ii) the data and inputs underlying the financial valuation analyses that support the fairness

26 opinions provided by the Company’s financial advisors Allen & Company LLC (“Allen”) and J.P.

27

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     Morgan Securities LLC (“J.P. Morgan”). Defendants authorized the issuance of the false and
 1

 2 misleading Registration Statement in violation of Sections 14(a) and 20(a) of the Exchange Act.

 3            4.      In short, unless remedied, Momentive’s public stockholders will be irreparably harmed

 4 because the Registration Statement’s material misrepresentations and omissions prevent them from

 5
     making a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks to enjoin
 6
     the stockholder vote on the Proposed Transaction unless and until such Exchange Act violations are
 7
     cured.
 8
                                        JURISDICTION AND VENUE
 9

10            5.      This Court has jurisdiction over the claims asserted herein for violations of Sections

11 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder pursuant to Section 27

12 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal question jurisdiction).

13
              6.      The Court has jurisdiction over defendants because each defendant is either a
14
     corporation that conducts business in and maintains operations in this District, or is an individual who
15
     has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by this
16

17 Court permissible under traditional notions of fair play and substantial justice.

18            7.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

19 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company is headquartered in this District;

20 (ii) one or more of the defendants either resides in or maintains executive offices in this District; and

21
     (iii) defendants have received substantial compensation in this District by doing business here and
22
     engaging in numerous activities that had an effect in this District.
23
                                                 THE PARTIES
24

25            8.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

26 Momentive.

27

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             9.      Defendant Momentive is a Delaware corporation, with its principal executive offices
 1

 2 located at One Curiosity Way, San Mateo, California 94403. The Company provides software

 3 solutions that help companies turn stakeholder feedback into action in the United States and

 4 internationally. Momentive’s common stock trades on the Nasdaq Global Select Market under the

 5
     ticker symbol “MNTV.”
 6
             10.     Defendant Susan L. Decker (“Decker”) has been a director of the Company since
 7
     November 2017.
 8
             11.     Defendant David A. Ebersman (“Ebersman”) is Chair of the Board, and has been a
 9

10 director of the Company since June 2015.

11           12.     Defendant Erika H. James (“James”) has been a director of the Company since August
12 2018.

13
             13.     Defendant Sheryl K. Sandberg (“Sandberg”) has been a director of the Company since
14
     July 2015.
15
             14.     Defendant Alexander J. Lurie (“Lurie”) has been Chief Executive Officer (“CEO”) of
16

17 the Company since January 2016, interim Chief Financial Officer (“CFO”) since March 5, 2021, and

18 a director since December 2009. Defendant Lurie also previously served as Chair of the Board from

19 July 2015 to January 2016, and as interim CFO from April 1, 2019, through July 7, 2019.

20           15.     Defendant Dana L. Evan (“Evan”) has been a director of the Company since March
21
     2012.
22
             16.     Defendant Brad D. Smith (“Smith”) has been a director of the Company since May
23
     2017.
24

25           17.     Defendant Ryan Finley (“Finley”) founded the Company in 1999, and has been a

26 director of the Company since its inception.

27

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            18.    Defendant Benjamin C. Spero (“Spero”) has been a director of the Company since
 1

 2 April 2009.

 3          19.    Defendant Serena J. Williams (“Williams”) has been a director of the Company since

 4 May 2017.

 5
            20.    Defendants identified in paragraphs 10-19 are referred to herein as the “Board” or the
 6
     “Individual Defendants.”
 7
                                     OTHER RELEVANT ENTITIES
 8
            21.    Zendesk is a Delaware corporation, with its principal executive offices located at 989
 9

10 Market Street, San Francisco, California 94103. Founded in 2007, Zendesk is a service-first customer

11 relationship management company, built to give organizations of all sizes, in every industry, the

12 ability to deliver a transparent, responsive, and empowering customer experience. With solutions

13
     designed to address an increasingly broad set of customer interactions, Zendesk allows organizations
14
     to deliver omnichannel customer service and customize and build apps across the customer journey.
15
     Zendesk has evolved its offerings over time to product and platform solutions that work together to
16

17 help organizations understand the broader customer journey, improve communications across all

18 channels, and engage where and when it’s needed most. Zendesk’s common stock trades on the New

19 York Stock Exchange under the ticker symbol “ZEN.”

20          22.    Merger Sub is a wholly owned subsidiary of Zendesk.
21
                                  SUBSTANTIVE ALLEGATIONS
22

23 Background of the Company

24          23.    Founded under the name “SurveyMonkey” in 1999, Momentive changed its name to
25 Momentive Global Inc. in June 2021. The Company is an agile experience management company

26
     focused on helping customers shape what’s next. Momentive’s platform empowers users to collect,
27
     analyze, and act on feedback from customers, employees, website and app users, and market research
28
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     audiences.     Its products enable more than 345,000 organizations to deliver better customer
 1

 2 experiences, increase employee retention, and unlock growth and innovation. Momentive offers SaaS

 3 feedback solutions across three major product categories—Surveys, Customer Experience, and

 4 Market Research.

 5
            24.      Momentive offers survey software products that enable customers to measure,
 6
     benchmark, and act on stakeholder feedback. The Company’s products include, GetFeedback CX
 7
     platform, which enables companies to engage and retain their customers based on the ability to
 8
     continuously listen and act on digital feedback; GetFeedback Digital, which provides continuous and
 9

10 in-the-moment customer feedback from a company’s website, web apps, and mobile apps;

11 GetFeedback Direct, which enables survey deployment to company’s customers through email and

12 SMS; and GetFeedback Complete, an end-to-end customer experience solution that combines

13
     GetFeedback Digital and GetFeedback Direct.          The Company also provides SurveyMonkey
14
     Audience, which enables organizations to collect and analyze real-time actionable data from targeted
15
     panelists; Expert solutions, which offers a suite of pre-built market research software modules, such
16

17 as ad and video creative, product concept, packaging and logo design, brand name, and messaging

18 and claims analysis for customers to test product and marketing concepts; TechValidate, a marketing

19 content automation solution; SurveyMonkey Apply, an application management solution; and Wufoo

20 that helps users create web and mobile forms, collect file uploads, and receive online payments.

21
     Momentive serves financial services, internet, technology, healthcare, media and entertainment,
22
     consumer goods and retail, transportation and logistics, government agencies, manufacturing, energy,
23
     education, professional services, and non-profit organizations.
24

25          25.      On November 9, 2021, Momentive announced its third quarter 2021 financial results.

26 Total revenue was $114.8 million, an increase of 20% year-over-year. Enterprise sales revenue was

27 $37.6 million, an increase of 37% year-over-year. Self-serve revenue was $77.1 million, an increase

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     of 13% year-over-year. Paying users totaled approximately 883,100, an increase of approximately
 1

 2 79,900, or 10% from approximately 803,200 in the third quarter of 2020 (“Q3 2020”). Approximately

 3 90% of paying users were on annual plans, up from 87% in the prior year. Average revenue per user

 4 was $522, up approximately 9% from $478 in Q3 2020.

 5
     The Proposed Transaction
 6
            26.     On October 28, 2021, Momentive and Zendesk issued a joint press release announcing
 7
     the Proposed Transaction. The press release states, in relevant part:
 8
            SAN FRANCISCO & SAN MATEO, Calif--Zendesk (NYSE: ZEN) and Momentive
 9          (NASDAQ: MNTV) have entered into a definitive agreement under which Zendesk
10          will acquire Momentive, including its iconic SurveyMonkey platform. The terms of
            the transaction provide for Momentive stockholders to receive 0.225 shares of Zendesk
11          stock for each share of Momentive stock, a ratio which represents an implied value of
            approximately $28 per outstanding share of Momentive stock based on the 15-day
12          volume weighted average price of Zendesk common stock up to and including October
            26, 2021.
13

14          Zendesk expects the combination to be growth accretive in its first full operating year
            and accelerate Zendesk’s revenue plan to $3.5 billion in 2024, one year ahead of its
15          previous target.      The companies’ respective sizable customer bases and
            complementary capabilities are expected to provide significant opportunity for joint
16          product adoption and increasing Momentive’s enterprise traction. Zendesk will
            reinvest savings from scale efficiencies into compelling growth opportunities to
17
            support the combination. Upon the close of the transaction, Momentive CEO Zander
18          Lurie will continue to lead Momentive’s strong management team.

19          “The SurveyMonkey brand is iconic and we’ve admired their business from afar since
            the inception of Zendesk. They truly democratized an industry—almost everyone in
20          the world has responded to one of their surveys at some point,” said Mikkel Svane,
            CEO & Founder, Zendesk. “We’re very excited to have them join the Zendesk mission
21
            along with Momentive’s market research and insights products and together create a
22          powerful new Customer Intelligence company. We will deliver a rich, colorful picture
            of every customer so businesses really understand their customers and can build more
23          authentic relationships.”
24          “We look forward to combining with Zendesk to advance our mission and accelerate
25          our long-term growth strategy,” said Zander Lurie, CEO, Momentive. “This is a
            testament to the strength of our agile products and talented team. Zendesk and
26          Momentive share a culture centered around our people, our communities and the
            customers we serve. The synergies between our companies are proximate and
27          compelling. We are uniquely positioned to make Customer Intelligence a reality while
            delivering significant value for our shareholders.”
28
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     Acquisition to Create Powerful New Customer Intelligence Company
 1

 2   In today’s digital-first economy, it is imperative to build more meaningful
     relationships with customers. Meaning comes from a deep understanding of the
 3   customer and their experiences. Although businesses often have an endless supply of
     data, they lack actionable and personalized customer intelligence. Instead, businesses
 4   are left with a picture of the customer that is one dimensional, impersonal and
     incomplete.
 5

 6   Zendesk pioneered the ability to respond to what customers say and do, making it
     easier to deliver superior customer service. Momentive is a leader in capturing how
 7   customers think and feel, helping companies make critical decisions quickly and
     confidently.
 8
     With Momentive, Zendesk will create what businesses really need—a customer
 9
     intelligence company that connects what customers say and do, with how they think
10   and feel. The combination will give businesses the ability to:

11   •   Listen to your customers: Collect critical information about customer needs,
         experiences and expectations
12   •   Develop a rich picture: Bring a customer into focus by combining transactional
13       data with market research and insights for the context to truly understand them
     •   Act on insights: Empower teams to take action with the full breadth of data about
14       their customers as well as feedback and market insights to improve customer
         interactions
15
     Transaction Terms
16

17   Following a comprehensive review, the boards of directors of Zendesk and Momentive
     have approved the transaction.
18
     The terms of the transaction provide for Momentive stockholders to receive 0.225
19   shares of Zendesk stock for each share of Momentive stock, a ratio which represents
     an implied value of approximately $28 per outstanding share of Momentive stock
20
     based on the 15-day volume weighted average price of Zendesk common stock up to
21   and including October 26, 2021. Upon closing of the transaction, Zendesk
     stockholders will own approximately 78% of the combined company and Momentive
22   stockholders will own approximately 22% of the combined company. The transaction,
     which is anticipated to close in the first half of 2022, is subject to approval by Zendesk
23   stockholders and Momentive stockholders, the receipt of required regulatory
     approvals and other customary closing conditions. The transaction is intended to
24
     qualify as a tax-free reorganization for U.S. federal income tax purposes.
25
     Zendesk has published a presentation to provide an overview of the transaction,
26   available on both Zendesk and Momentive’s investor relations websites. Additional
     details and information about the terms and conditions of the transaction will be
27   available in Current Reports on Form 8-K to be filed by Zendesk and Momentive with
28   the Securities and Exchange Commission.
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            Quarterly Financial Results
 1

 2          In separate press releases issued today, Zendesk announced financial results for the
            third quarter of 2021 and Momentive announced preliminary results for its third
 3          quarter of 2021. Momentive will issue a press release to share its full third quarter
            financial results on November 9, 2021.
 4
            Advisors
 5

 6          Goldman Sachs & Co. LLC is serving as lead financial advisor and Centerview
            Partners LLC is also serving as financial advisor to Zendesk. Hogan Lovells US LLP
 7          is serving as legal counsel to Zendesk. Allen & Company LLC and J.P. Morgan
            Securities LLC are serving as equal lead financial advisors and Wilson Sonsini
 8          Goodrich & Rosati Professional Corporation is serving as legal counsel to Momentive.
 9
     Insiders’ Interests in the Proposed Transaction
10
            27.    Momentive insiders are the primary beneficiaries of the Proposed Transaction, not the
11
     Company’s public stockholders. The Board and the Company’s executive officers are conflicted
12

13 because they will have secured unique benefits for themselves from the Proposed Transaction not

14 available to Plaintiff and the public stockholders of Momentive.

15          28.    Notably, Company insiders stand to reap substantial financial benefits for securing the
16 deal with Zendesk. Pursuant to the Merger Agreement, all outstanding Company options held by

17
     non-employee directors will vest and convert into the right to receive the Merger Consideration. The
18
     following table summarizes the value of options that Momentive’s non-employee directors stand to
19
     receive:
20

21

22

23

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25

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            29.     Moreover, all outstanding vested Company restricted stock units (“RSUs”) and
 1

 2 restricted stock will convert into the right to receive the Merger Consideration upon closing of the

 3 merger. The following tables summarize the value of RSUs and restricted stock that Company

 4 insiders stands to receive:

 5

 6

 7

 8
 9

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21          30.     Further, if they are terminated in connection with the Proposed Transaction,
22
     Momentive’s named executive officers stand to receive substantial cash severance payments in the
23
     form of golden parachute compensation, as set forth in the following table:
24

25

26

27

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     The Registration Statement Contains Material Misstatements or Omissions
 1

 2          31.    The defendants filed a materially incomplete and misleading Registration Statement

 3 with the SEC and disseminated it to Momentive’s stockholders.           The Registration Statement

 4 misrepresents or omits material information that is necessary for the Company’s stockholders to make

 5
     an informed decision whether to vote in favor of the Proposed Transaction.
 6
            32.    Specifically, as set forth below, the Registration Statement fails to provide Company
 7
     stockholders with material information or provides them with materially misleading information
 8
     concerning: (i) the Company’s and Zendesk’s financial projections; and (ii) the data and inputs
 9

10 underlying the financial valuation analyses that support the fairness opinions provided by the

11 Company’s financial advisors, Allen and J.P. Morgan.

12 Material Omissions Concerning the Company’s and Zendesk’s Financial Projections

13
            33.    The Registration Statement omits material information regarding the Company’s and
14
     Zendesk’s financial projections.
15
            34.    For example, in connection with their discounted cash flow analyses of Momentive
16

17 and Zendesk, Allen and J.P. Morgan utilized the standalone unlevered, after-tax free cash flows that

18 Momentive and Zendesk were forecasted to generate during the fiscal years ending December 31,

19 2021, through December 31, 2031. The Registration Statement fails, however, to disclose the

20 standalone unlevered, after-tax free cash flows that Momentive was forecasted to generate during the

21
     fiscal years ending December 31, 2027, through December 31, 2031, and standalone unlevered, after-
22
     tax free cash flows that Zendesk was forecasted to generate during the fiscal years ending
23
     December 31, 2026, through December 31, 2031.
24

25          35.    Additionally, with respect to the Company’s and Zendesk’s projections, the

26 Registration Statement fails to disclose the line items underlying Non-GAAP Operating Income and

27 Unlevered Free Cash Flow.

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            36.     The omission of this material information renders the statements in the “Zendesk
 1

 2 Unaudited Financial Projections” and “Momentive Unaudited Financial Projections” sections of the

 3 Registration Statement false and/or materially misleading in contravention of the Exchange Act.

 4 Material Omissions Concerning Allen’s and J.P. Morgan’s Financial Analyses

 5
            37.     The Registration Statement omits material information regarding Allen’s and J.P.
 6
     Morgan’s financial analyses.
 7
            38.     The Registration Statement describes Allen’s and J.P. Morgan’s fairness opinions and
 8
     the various valuation analyses performed in support of their opinions. However, the description of
 9

10 Allen’s and J.P. Morgan’s fairness opinions and analyses fails to include key inputs and assumptions

11 underlying these analyses. Without this information, as described below, Momentive’s public

12 stockholders are unable to fully understand these analyses and, thus, are unable to determine what

13
     weight, if any, to place on Allen’s and J.P. Morgan’s fairness opinions in determining whether to vote
14
     in favor of the Proposed Transaction.
15
            39.     With respect to Allen’s Selected Public Companies Analyses and Selected Precedent
16

17 Transactions Analysis, the Registration Statement fails to disclose the individual financial multiples

18 and metrics for each of the comparable companies and transactions observed by Allen in the analyses,

19 respectively.

20          40.     With respect to Allen’s Discounted Cash Flow Analyses, the Registration Statement
21
     fails to disclose: (i) the standalone unlevered, after-tax free cash flows that Momentive was forecasted
22
     to generate during the fiscal years ending December 31, 2027 through December 31, 2031; (ii) the
23
     standalone unlevered, after-tax free cash flows that Zendesk was forecasted to generate during the
24

25 fiscal years ending December 31, 2026 through December 31, 2031; (iii) quantification of the

26 terminal values; and (iv) quantification of the inputs and assumptions underlying the discount rates

27 ranging from 8.0% to 9.25% for Momentive and 7.25% to 8.5% for Zendesk.

28
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            41.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis of Momentive, the
 1

 2 Registration Statement fails to disclose: (i) the unlevered free cash flows that Momentive is expected

 3 to generate during the remainder of fiscal year 2027 through fiscal year 2031; (ii) quantification of

 4 the terminal values for Momentive; and (iii) quantification of the inputs and assumptions underlying

 5
     the discount rates ranging from 9.0% to 10.0%.
 6
            42.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis of Zendesk, the
 7
     Registration Statement fails to disclose: (i) the unlevered free cash flows that Zendesk is expected to
 8
     generate during the remainder of fiscal year 2026 through fiscal year 2031; (ii) quantification of the
 9

10 terminal values for Zendesk; and (iii) quantification of the inputs and assumptions underlying the

11 discount rates ranging from 8.25% to 9.25%.

12          43.     Without such undisclosed information, Momentive stockholders cannot evaluate for
13
     themselves whether the financial analyses performed by Allen and J.P. Morgan were based on reliable
14
     inputs and assumptions or whether they were prepared with an eye toward ensuring that positive
15
     fairness opinions could be rendered in connection with the Proposed Transaction. In other words,
16

17 full disclosure of the omissions identified above is required in order to ensure that stockholders can

18 fully evaluate the extent to which Allen’s and J.P. Morgan’s opinions and analyses should factor into

19 their decision whether to vote in favor of or against the Proposed Transaction.

20          44.     The omission of this material information renders the statements in the “Momentive
21
     Unaudited Financial Projections,” “Zendesk Unaudited Financial Projections” and “Opinions of
22
     Momentive’s Financial Advisors” sections of the Registration Statement false and/or materially
23
     misleading in contravention of the Exchange Act.
24

25          45.     The Individual Defendants were aware of their duty to disclose the above-referenced

26 omitted information and acted negligently (if not deliberately) in failing to include this information

27 in the Registration Statement. Absent disclosure of the foregoing material information prior to the

28
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     stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of Momentive will
 1

 2 be unable to make an informed voting decision in connection with the Proposed Transaction and are

 3 thus threatened with irreparable harm warranting the injunctive relief sought herein.

 4                                          CLAIMS FOR RELIEF
 5                                                   COUNT I
 6
                   Claims Against All Defendants for Violations of Section 14(a) of the
 7                      Exchange Act and Rule 14a-9 Promulgated Thereunder

 8          46.     Plaintiff repeats all previous allegations as if set forth in full.

 9          47.     During the relevant period, defendants disseminated the false and misleading
10
     Registration Statement specified above, which failed to disclose material facts necessary to make the
11
     statements, in light of the circumstances under which they were made, not misleading in violation of
12
     Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.
13
            48.     By virtue of their positions within the Company, the defendants were aware of this
14

15 information and of their duty to disclose this information in the Registration Statement. The

16 Registration Statement was prepared, reviewed, and/or disseminated by the defendants.                It
17 misrepresented and/or omitted material facts, including material information about the Company’s

18
     and Zendesk’s financial projections and the data and inputs underlying the financial valuation
19
     analyses that support the fairness opinions provided by Allen and J.P. Morgan. The defendants were
20
     at least negligent in filing the Registration Statement with these materially false and misleading
21

22 statements.

23          49.     The omissions and false and misleading statements in the Registration Statement are

24 material in that a reasonable stockholder would consider them important in deciding how to vote on

25 the Proposed Transaction.

26
            50.     By reason of the foregoing, the defendants have violated Section 14(a) of the Exchange
27
     Act and SEC Rule 14a-9(a) promulgated thereunder.
28
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            51.     Because of the false and misleading statements in the Registration Statement, Plaintiff
 1

 2 is threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

 3 relief is appropriate to ensure defendants’ misconduct is corrected.

 4                                                  COUNT II
 5                             Claims Against the Individual Defendants for
 6                             Violations of Section 20(a) of the Exchange Act

 7          52.     Plaintiff repeats all previous allegations as if set forth in full.

 8          53.     The Individual Defendants acted as controlling persons of Momentive within the

 9 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

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     officers and/or directors of Momentive, and participation in and/or awareness of the Company’s
11
     operations and/or intimate knowledge of the false statements contained in the Registration Statement
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     filed with the SEC, they had the power to influence and control and did influence and control, directly
13
     or indirectly, the decision-making of the Company, including the content and dissemination of the
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15 various statements which Plaintiff contends are false and misleading.

16          54.     Each of the Individual Defendants was provided with or had unlimited access to copies
17 of the Registration Statement and other statements alleged by Plaintiff to be misleading prior to and/or

18
     shortly after these statements were issued and had the ability to prevent the issuance of the statements
19
     or cause the statements to be corrected.
20
            55.     In particular, each of the Individual Defendants had direct and supervisory
21

22 involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

23 the power to control or influence the particular transactions giving rise to the securities violations as

24 alleged herein, and exercised the same. The Registration Statement at issue contains the unanimous

25 recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

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     were, thus, directly involved in the making of the Registration Statement.
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            56.     In addition, as the Registration Statement sets forth at length, and as described herein,
 1

 2 the Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

 3 Transaction. The Registration Statement purports to describe the various issues and information that

 4 they reviewed and considered—descriptions the Company directors had input into.

 5
            57.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of
 6
     the Exchange Act.
 7
            58.     As set forth above, the Individual Defendants had the ability to exercise control over
 8
     and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,
 9

10 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions as

11 controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a

12 direct and proximate result of defendants’ conduct, Momentive’s stockholders will be irreparably

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     harmed.
14
                                           PRAYER FOR RELIEF
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            WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including
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17 injunctive relief, in his favor on behalf of Momentive, and against defendants, as follows:

18          A.      Preliminarily and permanently enjoining defendants and all persons acting in concert

19                  with them from proceeding with, consummating, or closing the Proposed Transaction
20                  and any vote on the Proposed Transaction, unless and until defendants disclose and
21
                    disseminate the material information identified above to Momentive stockholders;
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            B.      In the event defendants consummate the Proposed Transaction, rescinding it and
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                    setting it aside or awarding rescissory damages to Plaintiff;
24

25          C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

26                  as well as SEC Rule 14a-9 promulgated thereunder;

27          D.      Awarding Plaintiff the costs of this action, including reasonable allowance for
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                   Plaintiff’s attorneys’ and experts’ fees; and
 1

 2         E.      Granting such other and further relief as this Court may deem just and proper.

 3                                            JURY DEMAND

 4         Plaintiff demands a trial by jury on all claims and issues so triable.
 5   Dated: January 5, 2022                              WEISSLAW LLP
 6                                                       Joel E. Elkins

 7                                                       By: /s/ Joel E. Elkins

 8                                                       Joel E. Elkins
                                                         611 Wilshire Blvd., Suite 808
 9                                                       Los Angeles, CA 90017
                                                         Telephone: 310/208-2800
10                                                       Facsimile: 310/209-2348
11                                                               -and-
                                                         Richard A. Acocelli
12                                                       305 Broadway, 7th Floor
                                                         New York, NY 10007
13                                                       Telephone: 212/682-3025
                                                         Facsimile: 212/682-3010
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15                                                       Attorneys for Plaintiff

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